Case 1:18-cr-00111-CMH Document 58-2 Filed 06/25/24 Page 1 of 1 PageID# 433




                     IN THE UNITED STATES DISTRICT COURT FOR THE

                                EASTERN DISTRICT OF VIRGINIA

                                          Alexandria Division

UNITED STATES OF AMERICA,                             )
                                                      )
                v.                                    )         No. 1:18cr111
                                                      )
JULIAN PAUL ASSANGE                                   )

                                       ORDER OF DISMISSAL

        WHEREAS, on March 6, 2018, the defendant was indicted by a grand jury in this district

on one count;

        WHEREAS, on May 23, 2019, the defendant was indicted in a superseding indictment by

a grand jury in this district on 18 counts;

        WHEREAS, on June 24, 2020, the defendant was indicted in a second superseding

indictment by a grand jury in this district on 18 counts;

        WHEREAS, on June 26, 2024, the defendant pleaded guilty to a criminal information in

the U.S. District Court for the Northern Mariana Islands 1:24-cr-0014;

        AND WHEREAS, pursuant to the plea agreement entered by the U.S. District Court for

the Northern Mariana Islands in that case, the Government moves to dismiss the indictments

previously filed in this district in this case;

        NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT

the indictments previously filed in this district against defendant JULIAN PAUL ASSANGE are

dismissed and the associated arrest warrants are vacated.
